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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                   :

     v.                                    :       21-CR-566 (RCL)

DAVID DEMPSEY                              :


          MOTION TO CORRECT PARAGRAPH 7 OF DOCKET ENTRY # 10

  1. On November 8, 2021, I filed a motion on behalf of David Dempsey requesting the Court

     recommend that the Department of Corrections not move Mr. Dempsey from the

     Correctional Treatment Facility (the “Motion”).

  2. In yesterday’s Motion, I wrote that the government takes “no position” on Mr. Dempsey’s

     Motion to remain at CTF (see Docket Entry 10, ¶ 7), because I mistakenly assumed that

     was the government’s usual position on such motions.

  3. Today, I was contacted by government counsel, told that had I conferred with the

     government, I would have learned my assumption was incorrect and that the government

     does not in fact have an across the board position.

  4. As to the instant Motion, the government has informed that its position is that the Motion

     is moot because Mr. Dempsey has been moved and is no longer be detained at CTF.

                                           Respectfully submitted,

                                           A. J. KRAMER
                                           FEDERAL PUBLIC DEFENDER

                                                  /s/
                                           _____________________________
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